PROB 22       Case 2:21-cr-00449-JAK Document 1 Filed 09/22/21 Page 1 ofDOCKET
                                                                         1 Page   ID #:1
                                                                               NUMBER (Tran. Court)
(Rev. 2/88)


TRANSFER OF JURISDICTION                                                                              &5-0
                                                                        9/22/2021                     DOCKET NUMBER (Rec. Court)

                                                                                JB                      2:21-cr-00449-JAK
NAME AND ADDRESS OF                                                  DISTRICT                         DIVISION

(OL]DEHWK5RPHUR                                                      ^ŽƵƚŚĞƌŶĂůŝĨŽƌŶŝĂ            6DQ'LHJR
&HQWUDO'LVWULFWRI&DOLIRUQLD
                                                                     NAME OF SENTENCING JUDGE
                                                                     -HIIUH\70LOOHU
                                                                     6HQLRU86'LVWULFW-XGJH
                                                                     DATES OF                        FROM             TO

                                                                     VXSHUYLVHGUHOHDVH                       
OFFENSE

86&DQG,PSRUWDWLRQRI+HURLQD&ODVV&IHORQ\



PART 1 - ORDER TRANSFERRING JURISDICTION

81,7('67$7(6',675,&7&2857)257+(6287+(51',675,&72)&$/,)251,$
,7,6+(5(%<25'(5('WKDWSXUVXDQWWR86&WKHMXULVGLFWLRQRIWKH6XSHUYLVHG5HOHDVHHQDPHGDERYH
EHWUDQVIHUUHGZLWKWKHUHFRUGVRIWKH&RXUWWRWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLDXSRQ
WKDW&RXUW VRUGHURIDFFHSWDQFHRIMXULVGLFWLRQ7KLV&RXUWKHUHE\H[SUHVVO\FRQVHQWVWKDWWKHSHULRGRIVXSHUYLVHGUHOHDVH
PD\EHFKDQJHGE\WKH'LVWULFW&RXUWWRZKLFKWKLVWUDQVIHULVPDGHZLWKRXWIXUWKHULQTXLU\RIWKLVFRXUW




         4FQUFNCFS 
        Date                                                           -HIIUH\70LOOHU
                                                                        HIIUH\7 0LOOHU
                                                                       6HQLRU86'LVWULFW-XGJH
                                                                        HQLRU86'LVWULFW-XGJH

*This sentence may be deleted at the discretion of the transferring Court.

PART 2 - ORDER ACCEPTING JURISDICTION
81,7('67$7(6',675,&7&2857)257+(&(175$/',675,&72)&$/,)251,$
,7,6+(5(%<25'(5('WKDWMXULVGLFWLRQRYHUWKHDERYHQDPHGEHDFFHSWHGDQGDVVXPHGE\WKLV&RXUWIURPDQG
DIWHUWKHHQWU\RIWKLVRUGHU




              4FQUFNCFS 

        Effective Date                                                 United
                                                                       Un
                                                                       United States District Judge




                                                                                                      CNDGPSNR
